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FORM TO BE USED BY PRISONERS IN FILING A COMPLAINT UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. §1983
IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF MISSISSIPPI SOUTHERN DIS IG! OF MississiPa
j 9N40
came aaE JUN 12 2019
Sm ; fh Bead NSTON ary
(Last Name) (Identification Number)
Jo re
(First Name) (Middle Name)
(Institution) L oo
2507 A: dy eo st Of Sun ms Sale
(Address)

(Enter above the full name of the plaintiff, prisoner and address

of plaintiff in this action)
V. CIVIL ACTION NUMBER: L:icv Yob [tL Ww-Liz 4.
- (to be completed by the Court)
Claten Palic2 ()0 Parchment
Wd ison County Jo\
WARK2n county Jail MY MM.
UWindo toonty Jail Ey Ad

(Enter the full name of the defendant(s) in this action)
Neuen Off word

GENERAL INFORMATION

A. At the tine of the incident complained of in this complaint, were you incarcerated?
Yes ) No( )

B. Are you presently incarcerated?
Yes( ) No ( oy

c. At the time of the incident complained of in this complaint, were you incarcerated because

you had been convicted of a crime?
Yes( ) No (L

D. Are you presently incarcerated for a parole or probation violation?
Yes( +) No(”)

E, At the time of the incident complained of in this complaint, were you an inmate of the
Mississippi Department of Corrections (MDOC)?
Yes( ) No (

F, Are you currently an i e of the Mississippi Department of Corrections (MDOC)?
Yes( ) No (

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PARTIES

(In item I below, place your name and prisoner number in the first blank and place your present
address in the second blank.)

? .
L Name of plaintiff; J/gVA/_ C. Sm: } kh Prisoner Number:

Address: 4S.7 pyid Ye ooo br Tren Mm> SIZI2.

(In item II below, place the full name of the defendant in the first blank, his official position in the
second blank, and his place of employment in the third blank. Use the space below item II for the
names, positions and places of employment of any additional defendants.)

Il. Defendant: (/.y hha Lo Lcd he fartnents employed as CY bo 7h
. at ( | inton Pes Loe pefortnont

The plaintiff is responsible for providing his/her address and in the event ofa change of address, the
new address of plaintiff as well as the name(s) and address(es) of each defendant(s). Therefore, the
plaintiff is required to complete the portion below:

PLAINTIFF:
NAME: ADDRESS: -
Sor2y_c.Smifh 25ay Ridocat De Ha ms 574/22.
DEFENDANT(S):
NAME: . ADDRESS:
Clinton Police DPatlant 308 Monkey of Clinten mS 53056
AML 5 Looedy 54
MAM Son Conall ShaAPs Ded Top Ae Cardoso m> SIU
WAP County del lovo broye St yusShury m> S9/LS Lg
, UV fo
Wadd County Sheed? Ue E Poacageula St dua ms Std05 -

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OTHER LAWSUITS FILED BY PLAINTIFF

NOTICE AND WARNING
The plaintiff must fully complete the following questions. Failure to do so may result in your case being dismissed.

A. Have you ever filed any lawsuits in a court of the United States? Yes Tt No(  )

B. If your answer to A is yes, complete the following information for each and every civil action
and appeal filed by you. (If there is more than one action, complete the following
information for the additional actions on the reverse of this page or additional sheets of

paper.)

CASE NUMBER 1.
1. Parties to the action: [/n4wo/

2. Court (if federal court, name the district; if state court, name the county):

Soy 4h2n p test

3. Docket Number: h ZL 4

4, Name of judge to whom case was assigned:_/? Jib

5. Disposition (for example: was the case dismissed? If so, what grounds? Was it
appealed? Is it still pending?)

CASE NUMBER 2.
1. Parties to the action:

\ LD
2. Court (if in , “i t; if state court, name the county):

3. Docket Number,

7
4, Name of judge woh case was assigned:

5. Disposition (for example: was the case dismissed? If so, what grounds? Was it
appealed? Is it still pending?)

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STATEMENT OF CLAIM

TH. State here as briefly as possible the facts of your case. Describe how each defendant is
involved. Also, include the names of other persons involved, dates and_places. Do not give
any legal arguments or cite any cases or statutes. If you intend to allege a number of different
. claims, number and set forth each claim in a separate paragraph. (Use as much space as you
L needs; ; attach extra sheet(s) if necessary).
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RELIEF

IV. State what relief you seek from the court. Make no legal arguments. Cite no cases or

chreges statutes.
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Signed this |}. day of _ Jig © »20_|

I declare (or certify, verify or state) under penalty of perjury that the foregoing is true

Signature of plaintiff

and correct.

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